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                                 MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – PHOENIX
U.S. Magistrate Judge: Michael T. Morrissey Date: December 18, 2023
USA v. Michael Tomasi                           Case Number: CR-23-01751-001-PHX-DWL

Assistant U.S. Attorney: Abbie Broughton Marsh
Attorney for Defendant: Joshua Fisher, Retained
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released               ☒ Custody ☐ Summons ☐ Writ

INITIAL APPEARANCE and ARRAIGNMENT:
DOA: 12/15/2023
MINUTE ENTRY for proceedings held before Magistrate Judge Michael T. Morrissey: Initial
Appearance and Arraignment as to Michael Tomasi held on 12/18/2023. The Government moves to
unseal this case. SO ORDERED. Notice of Appearance filed with the Court indicating Defendant
has retained counsel. Defendant enters a plea of NOT GUILTY to all counts. The Government is
seeking detention. Upon motion by defense counsel, IT IS ORDERED directing Pretrial Services to
screen Defendant for possible Crossroads placement. Detention Hearing set, Defendant waives all
applicable time.

Detention Hearing set for 12/21/2023 at 11:00 AM before Judge Bachus in Courtroom 303.

Trial set for 2/6/2024 at 9:00 AM before Judge Lanza in Courtroom 601.

Motions due within 21 days.



Recorded By Courtsmart                                                       IA  01 min
Deputy Clerk Kenneth G. Miller                                               ARR 02 min

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                                                                             Stop: 3:38 PM
